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 8

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10   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.
11

12

13                               UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16

17   ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC

18                    Plaintiff and                 DECLARATION OF REUBEN H. CHEN IN
                      Counter-defendant,            SUPPORT OF DEFENDANTS’ MOTION TO
19                                                  EXCLUDE CERTAIN OPINIONS OF DR.
            v.                                      DAVID B. TUCKERMAN REGARDING
20                                                  INVALIDITY OF THE ASSERTED COOLIT
     COOLIT SYSTEMS, INC.,                          PATENTS, NON-INFRINGEMENT OF THE
21                                                  ASSERTED COOLIT PATENTS, AND
                      Defendant and                 INFRINGEMENT OF THE ASSERTED
22                    Counter-claimant,             ASETEK PATENT

23   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
24
                       Defendants.
25

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28
                                                                    DECLARATION OF REUBEN H. CHEN ISO DEFS’
                                                          MOT. TO EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                 CASE NO. 3:19-CV-00410-EMC
         Case 3:19-cv-00410-EMC Document 397-1 Filed 03/31/22 Page 2 of 4




 1            I, Reuben H. Chen, do hereby declare as follows:

 2            1.     I am an attorney licensed to practice before this Court and all courts of the State of

 3   California, and am a partner with Cooley LLP, counsel for Defendant and Counter-claimant CoolIT

 4   Systems, Inc. (“CoolIT”), Defendant Corsair Gaming, Inc., and Defendant Corsair Memory, Inc.

 5   (collectively, “Defendants”) in the above-entitled action. I submit this declaration in support of

 6   Defendants’ Motion to Exclude Certain Opinions of Dr. David B. Tuckerman Regarding Invalidity of

 7   the Asserted CoolIT Patents, Non-infringement of the Asserted CoolIT Patents, and Infringement of

 8   the Asserted Asetek Patent. The matters stated herein are based upon my personal knowledge, and if

 9   called as a witness, I would testify as to the following statements.

10            2.     Attached hereto as Exhibit 1 is a true and correct copy of Expert Report of Dr. David

11   B. Tuckerman Regarding Invalidity of U.S. Patent Nos. 8,743,330; 9,603,284; and 10,274,266, served

12   November 3, 2021.

13            3.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the deposition

14   transcript of David Tuckerman, Ph.D., conducted on December 20, 2021, including his deposition

15   errata. Relevant portions of the deposition transcript have been highlighted for the convenience of the

16   Court.

17            4.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the deposition

18   transcript of David Tuckerman, Ph.D., conducted on December 22, 2021, including his deposition

19   errata. Relevant portions of the deposition transcript have been highlighted for the convenience of the

20   Court.

21            5.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the deposition

22   transcript of Andre S. Eriksen, Ph.D., conducted on August 24, 2021. Relevant portions of the

23   deposition transcript have been highlighted for the convenience of the Court.

24            6.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts of the deposition

25   transcript of David B. Tuckerman, Ph.D., conducted on March 18, 2022. Relevant portions of the

26   deposition transcript have been highlighted for the convenience of the Court.

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28                                                      -1-
                                                                           DECLARATION OF REUBEN H. CHEN ISO DEFS’
                                                                 MOT. TO EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                        CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 397-1 Filed 03/31/22 Page 3 of 4



 1          7.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the Expert

 2   Report of Himanshu Pokharna, Ph.D. in Response to Dr. Tuckerman’s Report on Invalidity of U.S.

 3   Patent Nos. 8,746,330; 9,603,284; and 10,274,266, served on December 8, 2021.

 4          8.     Attached hereto as Exhibit 7 is a true and correct copy of a document marked as Exhibit

 5   275 at the deposition of David Tuckerman, Ph.D., conducted on December 20, 2021.

 6          9.     Attached hereto as Exhibit 8 is a true and correct copy of the Rebuttal Expert Report

 7   of Dr. David B. Tuckerman Regarding Non-Infringement of U.S. Patent Nos. 8,746,330; 9,603,284;

 8   and 10,274,266, served on December 8, 2021.

 9          10.    Attached hereto as Exhibit 9 is a true and correct copy of an email from Joel Dion to

10   Robert McCauley, sent on September 11, 2014, with attachment.

11          11.    Attached hereto as Exhibit 10 is a true and correct copy of excerpts from the U.S.

12   Patent No. 7,971,632 file history, Reply to Office Action, dated December 18, 2008.

13          12.    Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the Rebuttal

14   Report of Dr. John P. Abraham Regarding Infringement of Asetek Danmark A/S’s Asserted Patent

15   Claims, served December 8, 2021.

16          13.    Attached hereto as Exhibit 12 is a true and correct copy of the Expert Report of Dr.

17   David B. Tuckerman Regarding Infringement of U.S. Patent Nos. 8,240,362; 10,613,601; and

18   10,599,196, served on November 3, 2021.

19          14.    Attached hereto as Exhibit 13 is a true and correct copy of Exhibit A-1 Invalidity Claim

20   Chart for U.S. Patent No. 8,743,330, served September 6, 2019.

21          15.    Attached hereto as Exhibit 14 is a true and correct copy of excerpts from Exhibit B to

22   the Expert Report of Dr. David B. Tuckerman Regarding Invalidity of U.S. Patent Nos. 8,743,330;

23   9,603,284; and 10,274,266, served November 3, 2021.

24          16.    Attached hereto as Exhibit 15 is a true and correct copy of excerpts of the Declaration

25   of Donald E. Tilton, Ph.D. from Asetek Danmark A/S v. CoolIT Systems, Inc., IPR2020-00825

26   (P.T.A.B.), Asetek Exhibit 1003, dated April 10, 2020.

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                                                     -2-
                                                                        DECLARATION OF REUBEN H. CHEN ISO DEFS’
                                                              MOT. TO EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                     CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 397-1 Filed 03/31/22 Page 4 of 4



 1          17.     Attached hereto as Exhibit 16 is a true and correct copy of Dr. Tuckerman’s Exhibit

 2   A, Materials Considered in Preparation of Non-Infringement Expert Report, served on December 8,

 3   2021

 4          18.     Attached hereto as Exhibit 17 is a true and correct copy of a document marked as

 5   Exhibit 277 at the deposition of David Tuckerman, Ph.D., conducted on December 22, 2021. The

 6   document is titled Corrected Supplemental Declaration of Donald E. Tilton, Ph.D., from Asetek

 7   Danmark A/S v. CoolIT Systems, Inc., IPR2020-00825 (P.T.A.B.), Asetek Exhibit 1032, dated May

 8   10, 2021.

 9          19.     Attached hereto as Exhibit 18 is a true and correct copy of a document marked as

10   Exhibit 278 at the deposition of David Tuckerman, Ph.D., conducted on December 22, 2021. This

11   document is a redlined comparison of Paragraphs 2 and 4 of Dr. Tilton’s Supplemental Declaration in

12   IPR2020-00825 (Ex. 17) to Paragraphs 48 and 50 of the Rebuttal Expert Report of Dr. David B.

13   Tuckerman Regarding Non-Infringement (Ex. 8).

14          20.     Attached hereto as Exhibit 19 is a true and correct copy of excerpts of the deposition

15   transcript of David B. Tuckerman, Ph.D., conducted on December 30, 2021. Relevant portions of the

16   deposition transcript have been highlighted for the convenience of the Court.

17          21.     Attached hereto as Exhibit 20 is a true and correct copy of excerpts of the deposition

18   transcript of Carl-Fredrik Stein, Ph.D., conducted on January 11, 2022. Relevant portions of the

19   deposition transcript have been highlighted for the convenience of the Court.

20          22.     Attached hereto as Exhibit 21 is a true and correct copy of Exhibit E, Materials

21   Considered in Preparation of Invalidity Expert Report, served on November 3, 2021.

22          I declare under penalty of perjury under the laws of the United States that the foregoing is true

23   and correct to the best of my knowledge.

24          EXECUTED at Sunnyvale, California on this 31st day of March, 2022.

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26                                                 /s/ Reuben H. Chen
                                                   Reuben H. Chen
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                                                       -3-
                                                                          DECLARATION OF REUBEN H. CHEN ISO DEFS’
                                                                MOT. TO EXCLUDE CERTAIN OPINIONS OF DR. TUCKERMAN
                                                                                       CASE NO. 3:19-CV-00410-EMC
